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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                           EASTERN DISTRICT OF MISSOURI


STATE OF MISSOURI,                                         )
                                                           )
                        Plaintiff,                         )
                                                           )
       vs.                                                 )    Case No. 4:21-cr-00272
                                                           )
DAVID BARKLAGE,                                            )
                                                           )
                        Defendant.                         )


  DEFENDANT’S SECOND MOTION FOR DEFENDANT TO TRAVEL OUTSIDE OF
                      THE EASTERN DISTRICT

       COMES NOW Defendant, by and through Counsel, Dee Wampler, Joseph S. Passanise

and Taylon M. Sumners, of the WAMPLER & PASSANISE LAW OFFICE and moves this Court

to allow Defendant to travel outside of the Eastern District of Missouri. In support of this Motion,

Counsel states the following:

       1. On May 7, 2021 Defendant entered a Plea of Not Guilty.

       2. This Court set forth bond conditions preventing Defendant from traveling outside of

             the Eastern District of Missouri.

       3. Defendant requests to travel outside of the Eastern District to the Western District for

             work purposes and to travel to his attorney’s office.

       4. Defendant understands that he will be required to notify his probation officer of any

             travel if this Court so grants this motion.

       5. Pretrial Services has no objection to this request.

   WHEREFORE, Defendant prays for an Order allowing Defendant to travel outside of the

Eastern District, and for such other and further relief as the Court deems just and proper.

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                                                    RESPECTFULLY SUBMITTED,

                                                    _______/s/Joseph S. Passanise________
                                                    DEE WAMPLER, MO Bar #19046
                                                    JOSEPH S. PASSANISE, MO Bar #46119
                                                    TAYLON M. SUMNERS, MO Bar # 73114
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                                     Certificate of Service
        I hereby certify that on June 7, 2021, I electronically filed the foregoing with the U.S.
District Court Clerk for the Eastern District of Missouri using the CM/ECF system which sent
notification of such filing to U.S. Attorney, St. Louis, Missouri.


                                                    _____/s/Joseph Passanise______________
                                                    Dee Wampler
                                                    Joseph S. Passanise
                                                    Taylon Sumners
                                                    Attorneys at Law




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